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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer                    : ORDER
2020 Demonstrations                                              20 Civ. 8924 (CM) (GWG)
                                                               :
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GABRIEL W. GORENSTEIN, United States Magistrate Judge

       The Court issues this ruling with respect to Docket ## 431 and 439.

Violations of the “48-Hour Rule”

        Plaintiffs seek discovery sanctions for the City’s alleged violations of what is termed the
“48-Hour Rule,” which governs the timing of disclosure of certain documents prior to officer
depositions. Docket # 439. The City’s response rests on the premise that the Court set a “two-
business day” rule and that as long as they transmit the documents to the plaintiffs before the
“close of business” two business days before the deposition, they have satisfied their obligation.
Docket # 451. The plaintiffs, by contrast, expect the documents on that business day at the same
time as the deposition is scheduled to begin (normally at 10:00 a.m.).

       The plaintiffs are correct as to the Court’s intention, though the Court accepts that there
was arguably some basis for confusion since the Court used the terms “two-business day” and
“48 hours” interchangeably. Docket ## 253, 439-1. The Court will now clarify: the required
documents must be produced two business days before the deposition and at the same time the
deposition is scheduled for. This allows the plaintiffs two full business days to review the
materials.

        It would have been better if the parties’ differing interpretations of the Court’s ruling had
been brought to the Court’s attention when the problem first arose (seemingly more than two
months ago). The Court assumes the City will now comply with its obligation. If there is a rare
occasion when the deadline cannot be met for extraordinary reasons, the deposition could be
postponed unless the plaintiffs prefer to go forward. If there is a repeated problem, however,
plaintiffs may seek relief from the Court.1

Mullins Documents

        On February 18, 2022, this Court ordered the City to produce by March 3, 2022: “(1) all
documents concerning Edward Mullins’ circulation of a racist video in August 2019, including
any investigations into this action and any discipline or recommendations of discipline that were
made; and (2) all documents concerning the February 2021 CCRB substantiation of three
complaints against Mullins for offensive language and abuse of authority.” Docket # 408
(“February 18 Order”). If timely production was impossible, the City was required to timely
request an extension and submit “a sworn statement from an individual with personal knowledge

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         We decline to address the final paragraph of Docket # 451 because it fails to comply
with paragraph 2.A of the Court’s Individual Practices.
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of all efforts made to respond to the request, including dates such efforts were begun, and
describing in detail the impediments that prevented compliance with the Court’s deadline.” Id.

         March 3 passed without any extension request. On March 4, plaintiffs filed a letter
representing that the City had “failed to produce any documents relating to Edward Mullins’
circulation of a racist video or concerning the CCRB investigation into the same” and seeking
discovery sanctions in connection with this failure. Docket # 431. On March 8, the City
produced to plaintiffs some IAB and CCRB files relating to Mullins, but represented that it had
not uncovered any material relating to the racist video. Docket ## 437, 438. The City filed a
letter stating that it had “inadvertently” assumed the production deadline for the Mullins
documents was March 11, rather than March 3, which accounted for the delayed production.
Docket # 437. On March 9, plaintiffs responded to the City’s letter, taking issue with the
completeness of the City’s production and the City’s explanation for the delay in production.
Docket # 438.

        The February 18 Order was unambiguous as to the production deadline and as to the
process for requesting an extension. The City makes no representation that it produced any
responsive material by March 3, and the docket reflects that no extension was ever requested.
The City is plainly in violation of the February 18 Order. If the City “inadvertently” assumed
that the deadline was March 11, it does not explain how this could have occurred in the face of
an unambiguous order. The February 18 Order should have been of particular importance to the
City because it resulted from the City’s failure even to respond to plaintiffs’ original request to
compel production of the materials (Docket ## 370, 374) as required by the Court’s Individual
Practices.

        As to the actual production that was made, the Court is not in a position to assess the
City’s compliance because there is now a dispute as to the adequacy of the search that was
conducted for these documents. Accordingly, the parties are directed to confer regarding this
matter. Obviously, the City must be completely forthcoming as to what it did to search for the
documents. Any dispute about the adequacy of the search may be addressed in a new letter.

        The City’s statement that it “inadvertently” missed the deadline imposed by the Court’s
February 18 Order does not render its conduct “substantially justified.” Fed. R. Civ. P.
37(b)(2)(C). Accordingly, plaintiffs are entitled to their attorney’s fees for this application. If in
fact the City’s search was adequate, the appropriate sanction will consist of those attorney’s fees.
If it was not adequate, plaintiffs are free to seek additional sanctions.

Payne Plaintiffs’ Second and Third Requests

       Our February 18 Order also required the City to respond to the Payne plaintiffs’ Second
and Third Interrogatories and Requests for Production on or before March 3, 2022. Docket
# 408. On March 4, plaintiffs informed the Court that no responses had been provided. Docket
# 431.

        The City’s view of the February 16 Order with regard to the Payne plaintiffs’ requests
apparently is that it could sit silent, take no action by March 3, 2022, and then later point to some
prior production or document as satisfying its obligation. See Docket # 438. We disagree. A


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Court Order requiring that the City “respond” to a request by a certain date means that a new
response must be served by that date.

        With respect to the Second Requests, the City represents that the officers to which these
particular requests relate “cannot be identified,” and thus “documents concerning them cannot be
produced.” Docket # 437, at *1. Obviously, the City should have stated that the officers have
not been or could not be identified in a written response served on plaintiffs by March 3, or
alternatively sought an extension of the deadline in the February 18 Order. The City did neither.

        As to the Third Requests, the City argues that it is in compliance with the February 18
Order by pointing to its January 14, 2022 responses to the Third Requests and noting that it
continues to identify and produce additional responsive materials. See Docket # 437, at *1-2.
But the impetus for the February 18 Order was the inadequacy of the City’s January 14
responses, see Docket # 431, at 3-4, and thus it is not proper for the City to sit silent and point to
that production when called to account. But more to the point, the City concedes that it has not
produced the required documents and that it expects to produce additional documents in the
future. The Court specifically gave the City the option to seek an extension by following the
procedures in the February 18 Order, but the City failed to do so. Thus, the City is in plain
violation of the February 18 Order. Finally, it appears that the City never actually supplied
proper interrogatory responses as specifically required by the February 18 Order, demonstrating
a separate violation of that Order. As plaintiffs’ point out, see Docket # 438, at 4, the City’s
responses on the court-ordered Chart fail to comply with the requirements of Fed. R. Civ. P.
33(b)(5).

        The City is directed to serve proper responses and interrogatory answers by March 28,
2022. If defendants contend that the deadline for production as to any category is impossible to
meet, they shall produce all available documents on that date and must make an application to
the Court by March 28, 2022, for an extension of the deadline, which shall include a sworn
statement from an individual with personal knowledge of all efforts made to respond to the
request, including dates such efforts were begun, and describing in detail the impediments that
prevented compliance with the Court’s deadline.

        As a sanction under Fed. R. Civ. P. 37(b)(2)(C), the plaintiffs are awarded their
attorneys’ fees and expenses with respect to plaintiffs’ efforts to bring this issue to the Court’s
attention because the City has not shown its conduct was “substantially justified.”

        As to the request for additional sanctions, we do not believe that the preclusive or other
sanctions sought by plaintiffs are warranted at this time. But we agree with plaintiffs that given
the history of sanctions imposed on the City — the sanctions today for violations of the February
18 Order and sanctions already issued for two previous violations of clear Court Orders (Docket
# 410) —the City must assure the Court (1) that this case is adequately staffed to comply with all
of the City’s discovery obligations and (2) that there is an adequate process in place to make sure
that Court Orders are complied with. To this end, the Chief of the Special Federal Litigation
Unit is directed to file a sworn statement by March 28, 2022, stating the staffing of this case as
of the date of the affidavit, indicating how many attorneys or other staff from the Corporation
Counsel are assigned to this case and what percentage of their time is allocated to this case. The
statement shall also indicate, as of the date of the affidavit, whether there are any procedures in


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place to ensure that Court Orders are complied with.

       SO ORDERED.

Dated: New York, New York
       March 21, 2022




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